Case 2:22-cv-00350-JRG-RSP   Document 1-10   Filed 09/09/22   Page 1 of 3 PageID #:
                                     151




                        EXHIBIT J
 Case 2:22-cv-00350-JRG-RSP                                         Document 1-10                 Filed 09/09/22               Page 2 of 3 PageID #:
                                                                            152
9/9/22, 1 :41 PM                                                                        Imprint I SHEIN USA

      10% OFF orders of $29+ I 15% OFF orders of $69+ I 20% OFF orders of $169+ Code: FALLFUN


  WOMEN          PLUS         HOME          KIDS      MEN      BEAUTY          SHEIN                   Free Standard Shipping on
                                                                                                       orders over US$49.00



      NEWIN             FW22        SALE          SHEIN X DESIGNERS          CLOTHING   DRESSES          TOPS                      Sweater
                                                                                                                                               El
           Home I Imprint



                                                                                Imprint
       Subject to the [Terms & Conditions]_and the [Privaq( & Cookie Poli~]_, our Services for US are provided by:
       SHEIN Distribution Corporation is responsible for the Site and sells products offered there under license from Roadget Business Pte.
       Ltd.,




       Address:

       SHEIN Distribution Corporation:757 S. Alameda St., Suite 220, Los Angeles, CA 90021,
       Roadget:7 Temasek Boulevard, #12 07 Suntec Tower One, Singapore (038987).



       Please DO NOT send returns to this address, click here for proper return instructions.




       E-Mail:

       uscsteam@shein.com




    COMPANY INFO                HELP & SUPPORT             CUSTOMER CARE                FIND USON

    About SHEIN                 Shipping Info              Contact Us

    Social Responsibility       Returns                    Payment & Tax                LJLJ~
    Fashion Blogger             How To Order               Bonus Point

    Supply Chain                How To Track                                            SIGN UP FOR SHEIN STYLE NEWS
    Careers                     Size Guide

    Student Discount            SHEIN VIP                                               l   Your Email Address




                                                                                        WE ACCEPT




    ©2009-2022 SHEIN All Rights Reserved
    Privacy Center       Privacy & Cookie Policy

    Do Not Sell My Personal Information            Terms & Conditions

    CoRyJ:ight Notice       Accessibili!Y       lmRrint    O United States


https://us.shein.com/imprint-a-746.html?ref=www&rep=dir&ret=us                                                                                      1/2


                                                                                 Page |J-1
 Case 2:22-cv-00350-JRG-RSP                            Document 1-10          Filed 09/09/22   Page 3 of 3 PageID #:
                                                               153
9/9/22, 1:41 PM                                                       Imprint I SHEIN USA




https://us.shein.com/imprint-a-746.html?ref=www&rep=dir&ret=us                                                     2/2


                                                                 Page |J-2
